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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA                              Crim. No. 2:13-CR-705 (WJM)

       v.

 ANTHONY HANKS                                                    OPINION
     a/k/a “T.J. Hanks”



WILLIAM J. MARTINI, U.S.D.J.:

      The Court is in receipt of and has considered the Government’s application
pursuant to Federal Rule of Criminal Procedure 35(a) to seek a correction of the sentence
imposed against Defendant Anthony Hanks on September 20, 2016. For the below
reasons, this motion is DENIED.

       As the Government admits, a Court’s “authority to correct a sentence under Rule
35(a) was intended to be very narrow and extends only to those cases where an obvious
error has occurred in the sentence.” United States v. Washington, 549 F.3d 905, 915 (3d
Cir. 2008) (internal citations omitted). Such was not the case here.

       The Court was mindful and considerate of Defendant’s job situation, but it did not
premise its sentence on the belief that a particular sentence would preserve his job.
Indeed, in response to the Court’s question as to whether Defendant would “probably
retain” his job if he had a custodial term that was a year or less, Ms. Cimino stated:

      [Defendant] consulted with his departmental union lawyer, Judge. I don’t
      know that it will be a walk in the park, even after a year or less, to get back
      in. But, the representation, or at least the information that he’s received
      thus far from his union lawyer is that a year or less, they could probably
      make a fight for him to get the job back. But, there’s no guarantees.

Sent. Tr. at 10. And, in fact, the statement that the Government obtained from
Defendant’s employer after sentencing is consistent with Ms. Cimino’s representation to
this Court: Defendant’s employer does not foreclose the possibility of Defendant being
re-hired by the Sanitation Department, but simply states that it would be “extremely
unlikely.” Rule 35 Mot. at 3-4.


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       In any event, the Court was not “heavily influenced” by Defendant’s ability to
maintain employment, as the Government contends. Rather, the Court took into account
several considerations, including Defendant’s stable family life, the fact that he had no
prior criminal history, the fact that he had worked since 2004, his relatively low level of
involvement in the crime, and the other § 3553(a) factors. Sent. Tr. 23-27.

      Because the Court’s sentence was not premised on “clearly erroneous facts,” see
United States v. Merced, 603 F.3d 203, 214 (3d Cir. 2010), the Government’s motion
pursuant to Federal Rule of Criminal Procedure 35(a) is DENIED. An appropriate order
follows.


                                                       /s/ William J. Martini
                                                    WILLIAM J. MARTINI, U.S.D.J.

Date: September 30, 2016




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